          Case: 1:21-cr-00698 Document #: 1 Filed: 11/15/21 Page 1 of 8 PageID #:1


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                                                              JUDGE GETTLEMAN
                                                          MAGISTRATE JUDGE HARJANI
Case: 1:21-cr-00698 Document #: 1 Filed: 11/15/21 Page 2 of 8 PageID #:2
Case: 1:21-cr-00698 Document #: 1 Filed: 11/15/21 Page 3 of 8 PageID #:3
Case: 1:21-cr-00698 Document #: 1 Filed: 11/15/21 Page 4 of 8 PageID #:4
Case: 1:21-cr-00698 Document #: 1 Filed: 11/15/21 Page 5 of 8 PageID #:5
Case: 1:21-cr-00698 Document #: 1 Filed: 11/15/21 Page 6 of 8 PageID #:6
Case: 1:21-cr-00698 Document #: 1 Filed: 11/15/21 Page 7 of 8 PageID #:7
Case: 1:21-cr-00698 Document #: 1 Filed: 11/15/21 Page 8 of 8 PageID #:8
